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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT

Date: April 20, 2023                                         DC Docket #: 23-cv-3032
Docket #: 23-615cv, 23-616cv                                 DC Court: SDNY (NEW YORK
Short Title: Bragg v. Jordan                                 CITY)
                                                             DC Judge: Vyskocil




                 NOTICE OF MOTION PLACED ON THE CALENDAR



A motion for stay filed in the above-referenced cases has been added to the substantive motions
calendar for Tuesday, April 25, 2023.

Inquiries regarding this case may be directed to 212-857-8595.
